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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
                                    MIAMI DIVISION
                                 Case No. 17-cv-24127-DPG

  NLG, LLC,

          Defendant/Appellant
  v.

  SELECTIVE ADVISORS GROUP, LLC, and
  LIZA HAZAN a/k/a ELIZABETH HAZAN,

          Plaintiffs/Appellees
                                                /

                            APPELLANT NLG LLC’S MOTION TO
                            RESCHEDULE STATUS CONFERENCE

          NLG, LLC (“NLG”), through undersigned counsel, files this Motion to Reschedule

  Status Conference currently scheduled for April 11, 2018 at 10:00 a.m., and respectfully states:

          1.     Undersigned counsel will be travelling to North Carolina on April 11, 2018 at

  10:00 a.m.

          2.     Although the court stated that we could appear telephonically, as undersigned

  counsel will be traveling over highways that may have limited cellphone reception.

          3.     Given the importance of this matter and the fact that he would like to explain

  certain matters that have occurred since the last hearing, he would prefer to appear in person.

          4.     Undersigned counsel will be back in Miami by April 17, 2018.

          5.     Attorney for Selective Advisors has objected to this request.

          WHEREFORE, for the reasons stated, NLG respectfully requests that the Court

  reschedule the status conference scheduled for April 11, 2018 to a date on or after April 17,

  2018.

          Dated: April 5, 2018.
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                  CERTIFICATION PURSUANT TO LOCAL RULE 2090-1(A)

          I hereby certify that I am admitted to the Bar of the United States District Court for the

  Southern District of Florida and I am in compliance with the additional qualifications to practice

  in this court set forth in Local Rules 2090-1(A).


                                                JUAN RAMIREZ, JR.
                                                ADR Miami LLC
                                                1172 So. Dixie Hwy. #341
                                                Coral Gables, FL 44146
                                                (305) 667-6609
                                                __/s/ Juan Ramirez, Jr. ___
                                                Juan Ramirez, Jr.
                                                (Florida Bar No. 201952)
                                                jr@adrmiami.com
                                                Counsel for Appellant NLG, LLC a Delaware LLC


                                       CERTIFICATE OF SERVICE


          I HEREBY CERTIFY that a true and correct copy of foregoing was served via CM/ECF,
  email or U.S. Mail to the parties on the attached service list as indicated on this 5th day of April,
  2018.

                                                __/s/ Juan Ramirez, Jr. ___
                                                Juan Ramirez, Jr.

                                           SERVICE LIST

  Via CM/ECF/Email

  Joe M. Grant, Esq. on behalf of Plaintiff Selective Advisors Group, LLC
  jgrant@msglaw.com, efile@msglaw.com; mg197ecfbox@gmail.com;sleary@msglaw.com

  David W. Langley on behalf of Plaintiff and Counter-Defendant Liza Hazan
  dave@flalawyer.com, emily@flalawyer.com;monica@flalawyer.com

  Juan Ramirez, Jr. Esq. on behalf of Defendant and Counter-Claim Plaintiff NLG, LLC

  Via U.S. Mail

  Selective Advisors Group, LLC



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  6913 Valencia Drive
  Fisher Island, FL 33109




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